
PER CURIAM.
There is sufficient evidence to support the trial court’s finding that appellant used the BB gun in the presence of the arresting officer. Further, we hold that the prohibition in Fla.Stat. § 790.22(1), (1973) creates a criminal offense, subjecting juvenile offenders to arrest and prosecution under Fla.Stat. Chapter 39 (1973). See Fine v. Moran, 74 Fla. 417, 77 So. 533 (1917); Fla.Stat. § 775.08 (1973). The search was valid as incident to a lawful arrest.
Affirmed.
WALDEN, C. J., and DOWNEY, J., concur.
MAGER, J., dissents, with opinion.
